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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                     §
                                              §
                       Government,            §
                                              §
VS.                                           §     CRIMINAL NO. H-13-513-1
                                              §
MICHAEL RAMBARAN,                             §
                                              §
                       Defendant.             §


                                  ORDER OF REFERRAL

       Having considered the defendant’s consent, this cause is hereby referred to United

States Magistrate Judge Mary Milloy for the purpose of administering the plea of guilty and

the FED.R.CRIM.P. 11 Allocution, subject to the final approval and imposition of sentence

by this Court.

                 SIGNED on March 3, 2014, at Houston, Texas.


                                                  ______________________________________
                                                           Lee H. Rosenthal
                                                     United States District Judge
